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                           Exhibit D
                           Exhibit D
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 E. JEAN CARROLL,
                                                   ECF Case
                        Plaintiff,
                                                   No.
                -against-

 DONALD J. TRUMP, in his personal
 capacity,

                        Defendant.



           CERTIFICATION OF THE DIRECTOR OF THE TORTS BRANCH
           CIVIL DIVISION, UNITED STATES DEPARTMENT OF JUSTICE

       I, James G. Touhey, Jr., am the Director of the Torts Branch, Civil Division, United

States Department of Justice, responsible for most civil litigation under the Federal Tort Claims

Act. I have read the complaint dated November 4, 2019, in the above-captioned case. Pursuant

to 28 U.S.C. § 2679, and by virtue of the authority vested in me pursuant to 28 C.F.R. § 15.4, I

hereby certify, on the basis of the information now available with respect to the incidents alleged
Case Case 20-3977, Document 4q
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in the complaint, that Defendant Donald J. Trump was acting within the scope of his office as the

President of the United States at the time of the alleged conduct.

       Dated this 8th day of September, 2020.




                                                MES G. TOUHEY, JR.
                                              Director, Torts Branch
                                              Civil Division, United States Department of Justice
